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                        9
                       10                       UNITED STATES DISTRICT COURT

                       11                      CENTRAL DISTRICT OF CALIFORNIA
RUSS, AUGUST & KABAT




                       12
                       13    AUBREY DRAKE GRAHAM, an                Case No. 2:21−cv−10037−MAA
                             individual,
                       14
                       15                      Plaintiff,           PROOF OF SERVICE OF
                                                                    SUMMONS, COMPLAINT AND
                       16
                             vs.                                    OTHER INITIATING
                       17                                           DOCUMENTS ON DEFENDANT
                                                                    GEMMA, LTD.
                       18
                             GEMMA, LTD., a Hong Kong
                       19    company; ORI VECHLER, an
                             individual; DOES 1-20, inclusive,
                       20
                       21                      Defendants.
                       22
                       23
                       24
                       25
                       26
                       27
                       28

                                   PROOF OF SERVICE OF SUMMONS, COMPLAINT AND OTHER
                                    INITIATING DOCUMENTS ON DEFENDANT GEMMA, LTD.
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

 AUBREY DRAKE GRAHAM, an individual,                                   Case No.2:21-cv-10037

                                                    Plaintiff,

 vs.

 GEMMA, LTD., a Hong Kong company; ORI VECHLER,
 an individual; DOES 1-20, inclusive,

                                                 Defendants



                            AFFIRMATION OF LAW WAI MING


           I, LAW WAI MING of 6th Floor, Prince's Building, 10 Chater Road, Central, Hong
 Kong, clerk to Messrs Wilkinson & Grist, solemnly and sincerely affirm as follows:


 1.    I am a clerk under the employ of Wilkinson & Grist, a law firm in Hong Kong with a
       principal place of business at 6th Floor, Prince's Building, 10 Chater Road, Hong Kong
       ("my Firm").


 2.    My Firm was engaged by RUSS, AUGUST & KABAT, the Attorneys for the Plaintiff
       AUBREY DRAKE GRAHAM in Civil Action No. 2:21-cv-10037-MAA, to serve the
       following copy documents on GEMMA, LTD., a Hong Kong company named as one of
       the defendants in the said Civil Action No. 2:21-cv-10037-MAA

       (a) COMPLAINT dated 30 December 2021;
       (b) CIVIL COVER SHEET of THE UNITED STATES DISTRICT COURT, CENTRAL
           DISTRICT OF CALIFORNIA dated 30 December 2021;
       (c) CERTIFICATION AND NOTICE OF INTEREST PARTIES dated 30 December
           2021;
       (d) NOTICE OF ASSIGNMENT TO US MAGISTRATE ruDGE dated 3 January 2022;
       (e) STATEMENT OF CONSENT TO PROCEED BEFORE A UNITED STATES
           MAGISTRATE mDGE; and
       (f) SUMMONS IN A CIVIL ACTION dated 3 January 2022
       (collectively, "the Documents").
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 3.   Pursuant to the instructions of my Firm, I did on Friday, 18 February 2022 serve on
      GEMMA, LTD., the Documents by leaving the same enclosed in a sealed envelope duly
      and properly addressed to GEMMA, LTD., at Unit 1311, 13th Floor, Houston Centre, 63
      Mody Road, Tsim Sha Tsui East, Kowloon, Hong Kong, being its registered office (the
      "Registered Office") as stated in the latest Annual Return dated 29 November 2021 of
      GEMMA LTD., submitted by its Company Secretary, New Spirit International Limited
      ("NEW SPIRIT"), with the Companies Registry of Hong Kong.         A true and correct copy
      of said Annual Return is now produced and shown to me and attached hereto as
      "Exhibit-I."


 4.   At the time of service NEW SPRIRT and a company named "NOBEL CATALYST 68
      LTD." were found operating their businesses at the Registered Office.    I rang the doorbell
      and a female staff showed up.    After I informed her the purpose of my visit, she replied
      that NEW SPIRIT is a secretarial company and GEMMA, LTD., is one of the companies
      to which NEW SPIRIT provides registered office address services.       She further informed
      me that no staff of GEMMA LTD. is working at the Registered Office.       I then personally
      served the Documents enclosed in a se<;tl,edenvelope duly and properly addressed to
      GEMMA, LTD., by passing the same to said female staff, who was over the age of
      eighteen (18) and represented that she was authorized to accept service for GEMMA, LTD.
      She then acknowledged receipt of service of the Document by affixing the company chop
      of GEMMA, LTD. on the back of first page of A SUMMONS IN A CIVIL ACTION dated
      3 January 2022.    A true and correct copy of this acknowledgment of receipt is now
      produced and shown to me and attached hereto as exhibit "Exhibit-2."

 5.   I also did on Friday, 18 February 2022 serve on GEMMA, LTD., the Documents by
      leaving the same enclosed in a sealed envelope duly and properly addressed to GEMMA,
      LTD., at Room A 16th Floor, Entertainment Building, 30 Queen's Road Central, Hong
      Kong, which is the address of its branch office (the "Branch Office") as revealed in a
      business registration searched conducted by my Firm against GEMMA, LTD. A true and
      correct copy of the business registration search result is now produced and shown to me
      and attached hereto as "Exhibit-3."

 6.   At the time of service, a company named "A. A. RACHMINOV DIAMONDS (ASIA)
      LIMITED" ("A. A. RACHMINOV DIAMONDS") was found operating business at the
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       Branch Office.    I rang the doorbell and a female staff, who was over the age of eighteen
       (18), showed up.     After I informed her the purpose of my visit, she informed me that
       although no staff of GEMMA, LTD. is working at the Branch Office, she was authorized
       to accept service for GEMMA, LTD. and I could give the Documents to her.                   I then
       personally served the Documents enclosed in a sealed envelope by passing the same to her.

 7.    The facts deposed to herein are true to the best of my knowledge, information and belief
       save where otherwise stated.

 I declare under penalty of perjury under the laws of the United States of America that the
 foregoing is true and correct.


                                                                         ~
                                                                   (LAW WAI MING)


 AFFIRMED at Messrs. P.C. Woo & Co., Solicitors of Suite 1208, Prince's Building, 10 Chater
 Road, Central, Hong Kong, this 1st day of March 2022

                                                                    Before me,




                                                                               G,HENRY
                                                              NotaryPublic,     g Kong SAR
                                                              Room 1225,12/F.,Prince'sBuilding,
                                                              IOChaterRoad,Central,HongKong.
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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

          AUBREY DRAKE GRAHAM, an individual,                 Case No.2:21-cv-10037

                                                 Plaintiff,

          vs.

          GEMMA, LTD., a Hong Kong company; ORI VECHLER,
          an individual; DOES 1-20, inclusive,

                                                Defendants,



           *******************************************************************
                            AFFIRMATION OF LAW WAI MING
           *******************************************************************
           Filed on:
           at:




            WILKINSON & GRIST
            SOLICITORS & NOTARIES
            6THFLOOR, PRINCE'S BUILDING
            10 CHATERROAD, CENTRAL
            HONGKONG
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